EXhibit A

Case 3:12-cv-0117O Document 1-1 Filed 11/13/12 Page 1 of 15 Page|D #: 6

 

STATE OF TENNESSEE
Department of Commer¢:e and insurance
500 James Robertson Parkway
Nas!\viile, TN 37243~113‘$
PH » 615.532.5260, FX - 615.532..2788
Jerald.E.Gi!bert@tn.gov

October 15, 2012

Hartford Life & Accident lns Co Ceriified Niai|

2908 Poston Avenue. % C 8 C Ret'urn Recei;)t Requested
Nashviiie, TN 37203 7011 2970 0003 4364 5455
NA¥C # 79815 - Cashier # 5695

Re: Bi|ly Crusenberry V. Hartford Life & Accident ins Co
maker # 420397'5

To Whom lt |V|ay Concern:

Pursuant to Tennessee Code Annotated §56-2~504 or § 56-2-506, the Department of
Comrnerce and insurance was served October 15, 2612, on your behaif in connection with t¥
above~sty|ed proceeding Documentat§on re!ating to the subject is herein enc¥osed. `

.}eraid E. Gilbert
Designated A_q`ent
Service of Process

Enc|osures

cc: Cia’cuit Court C!erk
Dav§dson County
1 Pub|ic Square. Room 302
Nashvilie, Tn 37219-6303

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C'|RCU|T' 'C.`J[)UR`|`l SUMMONS NASHV§LLE, TENNESSEE

STATE OF TENNESSEE mr
DAVIDSON COUNTY miss
2{)~‘»H JUD|C|AL DlSTR|CT _ \:} nurses

 

§il!y Crusenberry §ggl;l:<;¥;;%»£ /»@3?7;- `

 

 

plaintiff Method of Servloe:
g Davidsor\ Coumy Sheriff

Vs- [:] our ofcouncy shares

Har£fnrd L.ife and Accident |nsurance Company [:} Se¢rexary deere

 

f:] seemed van

 

m F’ersonai Service

 

Comrnissionar of insurance

 

 

Defendant
To the above named Defendant:

You are summoned to appear and defend a civi$ action filed against you in the €Ercult Court, 1 Public Square, Room 302.
P.O, Box 196303, Nas¥w|l!e, ?N 37219~6303, and your defense must be made wi!hin thirty (30) days from the date fth
summons is served upon you. ¥ou are further directed ¥o fiie your defense with the C¥erk of the Court and send a copy to
the F'Jaint£f|"s attorney at-the address iisted below.

|n'case of your fai¥ure to defend this action by the above date. judgment by defeu!t w%l! be'rendered against you for the
relief demanded in !he complaint

lsSUF_D: 545 90 3-#

   
 

Davldson County. enneseee

By:
Beplzly Clerk
Az'roa:~:av FoR PLA\N?\FF peter T_ Sk'eie ;C,...»'

 

 

 

 

 

°' 315 neaderack afreez, anne 1220
' _ Addreas
PLA*NT§FF’S ADDRESS mashvu:e, m 37238, Tele_pnone: 615-313~9111

 

TO ?HE _SHER|FF:,
Please execute this summons and make year return hereon as provided by an.

R\cHARD R. RooKER

IFCL£| OU 87

Reoeived this summons for service t§':is day of . 20

 

SHER|FF
‘I“o request an ADA accommodation, please contact hart Gore at (615} 880-3309.

 

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RETURN ON PERSONAL SER\l'lCE {}F SUMMONS

l hereby certify and return that on the day of ae;'; 1 2 2512 ,-20 , t:
l:::::] served this summons end comoia%nt!petttion on

SEHVED BY § [_'°A\/(NQ an-,\, in the following manner:
l . g .. . \,,, VV¢ l
~ W/coum. orr me
l failed to serve this summons within 90 days after its issuance because

&_\ Susana Herrera`
§l%n&w_

 

 

 

 

 

 

n

 

 

` /Process Server
RETZ}RN {)N SERVJCE OF SUMMONS BY MAlL

l hereby certify and returrt, that on the day of . 20 l sent. postage-prepaid by

 

registered return receipt mail or certified return receipt matt a certified copy of the summons and a copy ol the complaint in Docl_tet No,

to the defendant . Qn the day of

 

, , l received the return receipt for said regislered or certified mail. which had been signed
20
by on the day of , 20 . Said return
receipt is attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for li§lng.

 

 

 

SWORN `E'O AND SUBSCRlBlZD BEFORE N'|E ON THIS

DAY OF . . 20 . PLAlN`FZFF, PLA'|NT|FF'S ATTORNE`( OR OTHER ?ERSON
' AUTHGR|ZED BY STATUTE TO S,ERVE PROCESS

 

 

____NOTARY Puouc or ________oEPuTY cLERK
MY COMMISS|QN ExP:RES: ‘ ~' ".

No?tcr=' ` , "

 

TO T-HE DEFENDANT(S):
Tennessee law provides a ten thousand cotter ($10.690.00} debtors equity interest

personal property exemption from execution or seizure to satisfy a judgment lt a judgment ATTACH

should be entered against you in this action and you wish to claim property as exempt you _

must file a written iist, under oath, of tire items you wish to cla§m as exempt with the clerk of RETURN

the court. The list may be filed at any time and may be changed by you ihereefter as necessary: `
hewever, unless it la filed before thefndgmertt becomes i`rnal. it witt not be effective as to atty RECEEPT '
execution or garntohmeni issued prior to the tiling oftho list. Certaln items are automatically

exempt by law and do not need to be listed; these include items of necessary wearing apparel HERE _
(clotaiog}lfor yourself and your family and trunks or other receptacles necessary to contain such §
apparel, family portratls, the family Bil)le. and school books. Shoulct any of these items be seized, (lF APPL|CABLE)

you would have the right to recover thom. lt you do not understand your exemption right or how
_lo exercise it. you may wish to seek the counsel of a lawyer.

 

STATE CF TENNESSEE. ` l, Ftichard R. Rool<er, Clerk of the Circult Court in tire State and County aforesaid
COUNTY OF DAVlE')SON rio hereby certify this to be a true and correct copy of the originat summons issued
in this case. '<

‘ RECHARD R. ROO§<ER. CLERK
{To be oomoteled only if . ,
copy codification requirect.) f
By: D.C.

Case 3:12-cv-0117O Document 1-1 ~Filed 11/13/12 Paqe 4 of 15 PaqelD #: 9

 

 

 

 

 

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in me CIRCU!T CoURT t .,,.t., gm rml
FoR DAvn)SoN coUNTY, TENNESSEE

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Billy Cruseni`)erry,
Plaillfiff,

V.

Hartford Lii'e and Accident.{nsurance
Company,

Jury !)emand (12)

Defendant.

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Compiaint

 

'l. Piaintiff, Billy Crusenberry (“Crusenbcrry”).complains that Hartl’ord Life and
Accident insurance Company (“Harti`ord”) wrongfully denied his claim for long-term
disability benefits n
2. Crl:senl)erry complaints that Hartforcl based its denial of Crnsenberry’s claim on
false allegations of fact and on a misleading interpretation of its policy in violation of the
Tcnncssee Consumcr Protocti_on Act, Tenn. Codc~Ann. § 47» l 8- 101 et .s'eq.
3. Crusenberry complains tliat Hartford denied his claim in bad faith and in violation
of 'renn. bone Ami. § 56*7_105<3).

.Jurisdiction and Venue
4. Crusenberry’s claims arise under Tennessce statutory and common law. Hartford
transacts the business of insurance within Davidson'Coimty, Tcnncssee. Accordingiy, this
Court has jurisdiction `ovcr this mattcr.
5. Hartford is supervised and regulated by the Tcnncsscc Dcpartrnent of Commcrcc

and insurance lnsttrancc Divlsion, 500 lames Robertson Pkwy. Nasiiviile,'I`N 37243»

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0565. Accordingly, this eourt.‘is a proper venue for this matter pursuant to 47-18~
tos(a)(z).

'_ Al}egations ot Faet
6. Crusenberry Worked for The City of White House as the Director of Waste Wat`er
Management until October 201 l.
7. Cru'senberry was.irisure'd under a group long-term disability policy (“the policy”)
as an incident of`h`i_s,empioyment.
8. Hartf`ord issued the policy and was financially liable for claims.
9. On or about September 22, 201 l,_Crusenberry informed The City of White House
that'he would have to resign due to the disabling impact of his severe cardiac condition.
lG._ Crusenberry and The City of"W`hite House agreed that he would stay orr the job
for two weeks to coordinate the transfer ot` his responsibilities to a new manager.
t l. Crusenberry and The. ¢St)‘f of White House also agreed that his last formal day of
employment'would be October 12, 201 t to assure continuous medical insurance coverage
while he enrolled,in his wife’s employer’s medical insurance plan.
l2. Crasenberry was told not to submit a medical report of disability until October 6,
201 l because the City of White House would hot be able~to permit him to work after it
received such a report-due to the risk of liability.
13. ‘OH October 6, 201 1, Crusenberry submitted an Attending Physician"s Report of
D':sabi]ity to the City of White House.
l4.j October 6, 203 l was the last day that Crus'enberry reported to work as the

Director of Waste Water Man_agement.

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15. Prior to and on October 6, 2011 The City of White_ House accommodated
Crusenberry’e severe cardiac condition by permitting him to rest as needed on a couch
that it had provided to him in his office

16. Cru'senberry' was not able to perform tire essentiai duties of hisjob while resting
on the couch that 'i`i‘re City of White House had provided to him.

17 . Prior to and on_ October 6, 2011 The City of _Whi`te House accommodated
Crnse'nberry’s severe cardiac condition by providing him with a driver to take him to his
office, to water treatment facilities and other sites, to meetings, and back horne.

18.. Corning to work, visiting water treatment facilities and other sites, and attending
meetings were essential duties of his job.

i9. On Noveniber 8, 20|.1., Crusenberry formally applied to`Hartford for disability
benefits under the Plan.

201 Grz October 12,201§, The City of White House Formaily terminated
Crusenberry.’s employment

21. On February 20, 2012, Hartford denied Crus_enberry’s claim because l-Iarti`ord
concluded that Crusenberry had become disabled on OCtober i'3,20!1 while his coverage
terminated on October 12, 2011.

22. Crusenberry did not suffer any medicai events or physical injuries between
October 12, 201i and October 13,201 l or between OCtoi)er 6, 20i1 and October 13,
201 1. _

23. On Aprii 17, 2012 Crusenberry- appealed Har_tford’s denial.

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24. On l\/lay iG, 20|.2, Hartford reaffirmed its previous allegation that'Crusenberry
had become disabled on October 13, 20§ i and that he was not eligible for benefits
because his coverage terminated on October 12, 2011.

. 25, Hartford’s May 10,'2012 denial falsely alleged that Crusenberry was “performi'ng
his full duties with no restrictions” on Gcto`oer 12, 2012.
26. Hartford knew that this statement was not true because on Novernber 1,201 1 The
City oi` White House toid liartford that it had provided Crnsenberry with

. accommodations prior to his terminationl
27. Hartford elected not to consider Crusenberry as “disabled and working” prior to
October 12, 2011 even though a Hartford ciaims examiner recommended this mode of
anaiysis for Crusent)erry’s claim.
28. Hartiord never told C`rusenberry that he mi gin-qualify for benefits based on a
disabled and working analysis or gave him an opportunity'to present his claim as based
on this mode of analysis
29. Crusenberry has been approved t`or Social Security and Tennessee (i‘onsolidated
Retirernent Systern disability benefits
_30. After offsets for Crusenberry’s Social Secnrity and Tennessee Consolidated

` Retirement System disability benefits, Crusenberry’s insured benefit under Hartt`ord’s
policy should pay about $394.10 per month, or very close thereto
~31: 'l`he present value of Crusenberry’s benefit is approximately $58,500, or very
close they’re to.
32. Crusenberry has experienced financial hardship and distress as a result of

H_artford’s wrongful denial of his claim for long-term disability benefits

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Liability and Damages

Hartford denied Crusenberry’s claim in violation of the terms of its policy
33. Hattford’s poiicy covers ail “active einployees.” l~{artford’s policy defines an
active employee as an “employee who works for the Empioyer on a regular basis in the
usual course of the Employer’s business.” Crusenberry was an active empioyee on
- October 12, 291 l.Crusenberry resigned effective -October 12, 203 i because he was no
ionger able to work. Consequently, Crnsenberry was not scheduled to work on October
13,2(}12.~ Harti’ord’s policy provides, “We wil|'consider you actively at work on al day
that is not a scheduled work day only if you were actively at work on the preceding
scheduled work day.” This provision covers Crusenberry’s situation exactly, £.e., where
and employee resigns because he is no longer able to work. Accordingiy, Hartford
wrongfufly denied Crosenberry’s c¥aim for benefits
34. ln the alternative, Crnrsenberry was disabled and working prior to Cictober 13,
2011 . Accordingiy, Hartford wrongfuiiy denied Crusenberry’s claim for benefits
35. in the alternative,_Crnsenberry was disabied on October i2, 2()l i when his status
as an eianoyee of The City of White House terminated Accordingly, Hartf`ord
wrongfuliy denied Crnsenberry’s claim for benefits
36= Crnsenberry seeks ajudgment finding that Hartford wrongfuliy denied his`ciaim
for long_term disability benefits and ordering Hartford to issue payment of benefits,
payment of back benefits, and payment of interest on back benefits

Hartfoz'd denied Crusenberry’s Clairn in violation of the Tennessee,

Consumer Yrotection Aet

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37. l~lartt`ord used faise allegations of fact and misleading conduct to justify its denial
of` Crusenberry’s ciairn. For exampie, contrary te-Hanf`ord’s representations
Crnsenberry’s appEication for benefits did not state that he was disabled on Octoher i3,
2011. l~lartf`ord knew that The City of White Honse was providing accommodations to
Crusenberry prior to his resignation Harrf`ord elected not to consider Crnsenberry as
“disabled and working” prior to October l2, 291 l~even though a l~lartford claims
examiner recommended this mode of analysis for Crusenberry’s claiin. Har’tf`ord never
told Crusenberry that lie might qualify for benefits based on a disabled and working
analysis or gave him an opportunity to present his claim as based on this mode of
analysis And l~lartford used a misleading interpretation of its policy to deny d f
Crnsenberry’s claim. Accordingly, iiartford denied Crusenberry’s claim in violation of
the ri`ennessee Consumer Protection Act.
38. Crusenberry seeks a judgment finding that-Hartf`ord denied his claim in violation
of the Tennessee Consnmer Protection Act and an award of $175 ,SO(}, attorney fees, and
costs pursuant to 'l`enn. Code Ann.'§ 47~ l8“109.

flarti`ord Denicd Crusenberry’s Ciaiin in Bad Faith
39. Hartford used false aliegations of fact and misleading conduct to justify its denial
of Crnsenberry’s ciairn. For example, contrary to Harrf`ord’s representations,
Crusenberry’s application for benefits did not state that he was disabied on October 13,
201 i. l-Iartford knew that The City of White llonse was providing accommodations to
Crusenberry prior to his resignation §ialtford eiected not to consider Crusenberry as
“disabled and working” prior to October 12, 201 l even though a Hartford claims

examiner recommended this mode of analysis for Crusenberry’s claim. Harlford never

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toid Crnsenberry that he mi gin qualify for benefits based on a disabied and lWorlting
analysis or gave him an opportunity to present his ciairn as based on this mode of
analysis And Hartford used a misleading interpretation of its policy to deny
Crnsenberry?s claim. Hartford failed to timely pay Crusenberry’s ciaim. Accordingly,
Hartford denied Crusenberry’s claim in bad faith.

441 Ci'usenberry seeks ajudgment finding that that Hartford denied his ciaim in bad .
faith in violation of 'i`enn. Code Ann. § 56»7-305(::) and an award of 314,624 dol¥ars,
attorney fees, and costs.

Dated: October2 20¥2

 

   
   

sl eterT. Skeie
Peter T. Si<eie, # 02!006

315 Deaderick Street, Suite 1220
Nashvilie, TN 37238

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RICHARD R. ROOKER _

Ciseoir Counr Cieni<
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ctacttircltnlc.sasiwilis.qpv

i`ZC

landon Cinay

P.O. Box 196303
Nashvilie, Tennessee' 37219»6303

 

 

 

Gcto'ber 4, 20 i 2

Tennessee Division of Consumer Affairs
509 lemos Robel'tson Parkway, Fifth Fioor
'Nashvilie, 'l`N 372.19

RE: Biliy Crusenberry
vs. Docket No. i2€-.397_5 ..
iiartford Lit`e and Aceident
lnsuranoe Corrtpany

Dear Sirs: ' __ l 1
In accordance initio T.C.A. §47~] 8~¥09, this is your notice that the above styied Consumer
Protectio_n Act Cornplaint has been filed in the Circuit Cotn't of Davidson~County,

Ten,rtessee. The enclosed Complaint was filed in our office on October 3, 2012,.and has
been assigned to the Sixth Circtiit Cour~t for disposition

§ Sirtcetely,

tait

Richard R. Roolter

RRR/cgf

Encl`osure

Case 3:12-cv-0117O Document1-1 Filed 11/13/12 Page 12 of 15 Page|D #: 17

 

 

Copy . . . `

RETURN ON PERSONAL SERV|CE OF SUMMONS

l hereby certify and return that on the day of ncr f 2 7[}_1220 . E:

l served toto summons and comptaint!petition on

 

 

in the following manner:

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‘.“.';’CO.\.&¥\.@. Q!= it\iS.
§ k faited to serve this summons within 90 days after its issuance because

 

 
    

RETURN ON SERV|CE OF SUMMQNS BY MA|L

t hereby certify and reiurn, that on the day of .20 i sent postage prepaid by ‘

 

registered return receipt mail or certified return receipt mait, a certihed copy of the summons and a copy of the cornpiaint in Docket No.

to the dofondani, . On the day of

 

 

, , l received the return receipt for said registered or certified ma§l, which had bean signed

 

. 20 .
by . on the day of . 20 . Said return

 

 

receipt is attached to this original summons and both documents are being sent herewith to the Circuii Court Clert< for _tiiirig.

 

'SWORN TO AND SUBSCR|BED BEFORE ME ON TH!S

DAY Oi’= . 20 . PLAiNtiFF. PLAiN‘rrF~“r="s nTTonNEY on orHER PEnsoN
' AuTHoRizeo BY stA'ruTs 'ro sE_RvE PRocEss

c §

 

NOTARY PUBL.IC or DEZPUTY C_LERK
MY COMM!SSION EXP[RES: l \

N OT¥C F,

 

`¥`O 'FHE DEFENDANT(S):

Tennessee tow provides a ten thousand doitar ($10.000.90) debtors equity interest ‘
oersonat property exemption from execution or seizure to satisfy a judgment lt a judgment ATTACH

should be entered against you iri this action and you wish to ciairn property as exempt you ,

must die a written §ist. under oath. of the items you wish to ctairn as exem§)i with the clerk of RETLJRN
the court. 'ihe list may be fiied at any time and may be changed by you thereafter as necessary:

however. unless tt is filed beiore the‘judgmont becomes tinal, it witt not be effective as to any RECE|PT
execution or garnishment issued prior to the tiltng of the tist. Certain items are automaticaiiy

exempt by tow and do not need to be listed; these include items of necessary wearing accardi . H€RE
(ciothing) for yourseif and your femiiy and trunks or other receptacles necessary to contain such

apparel, famity portraits, ihe family Bible, and schoot books. Shouid any of these items co seized, (lF-” APPLiCABi.L-`.)

you would have the right to recover them. lt you do not understand your exemption n'gnt or how
to exercise lt. you may wish to seek the counsel of a tawyer.

S`E'ATE OF TENNESSEE t. Richard R. Root<er, Cisrk of the Circuii Coud in the Stato and Coonty aforesaid
COUNTY OF DAWDSON "' do hereby certify this to be o true and correct copy of the originai summons issued
. in this case

RICHARD R` ROOKER, CLERK
(To be compieted onty if _
copy codification requlrad.)
By: ‘ E.`J.C.

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S“I’ATE OF TENNESSEE ` §sz
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. 0 ,.l :__;\QTH JuDIClAL DlSTRICT [:] Pluries
Bi|i Crusenbe n ;~ C1\/li. ACT!ON

 

 

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plaintiff Mothod of Serv¥ce:
l:] Dav§dspn Ccunty Sheri?f
Vs' [:] Out of Govmy Shen`f€
Hartford Life and Accident lnsuranc;e Com;)any m Se¢¢e%ary of Sra\e

 

E:] Cenmed Maic

 

l::[ Personaf Serv|ce

. Commissioner oflnsur€lnce <B J

Defendant____
To the`ahove named Defendant: b' C

\'ou are summoned to appear and defend a civi¥ act|on fi!ed against you in the Circuit Court, 1 Pubiic Squara, Rc)om 302,
?.O. Box 196303, Nashvi|le, TN 37219~6303, and your defense must be made within th£rty (30} days from the date this
summons is served upon you. You are further wrecked to flle your defense with the Clerk of the Court and send a copy to
the Plalnt¥ff’s attorney at the address listed betow.

 

 

 

ln case of your failure to defend this action by the above date, judgment by default will va rendered against you for the
reiief demanded in the ccmplalrzt.

RSCHARD R. ROOKER
zSSuED: QLM_§{QO/;_ W
avoctson County. '¥'ennessee

 

 

 

 

 

 

ATTORNEY FOR PLA!NTIFF Peter T, Skeie L_"‘""‘
°’ 315 meaderick street Suite 1220
t mesa
PLAINTEFF’S ADDRESS Nashvme, m 37233, Telephone: 615-313-9111

 

TO THE Sl-EER¢FF:
_Piease execute this summons and make your return hereon as provided by an.

RlCHARD R. ROOKER

IFCUI CU

Recaived this summons for se¢v§ce this /0day of w; 20 ly

%ER¥FF

(_L‘J\ To request an ADA accommodation. pteasa contact Dart Gore at (615) 880-3309.

 

 

 

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Q:Rcurr comm sylvan/ioaa ""“"‘¥;, _ NAsHsz_LE, TENNESSEE
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§iliy Crusenbe g p ‘ C|Vii. ACT!GN

 

 

 

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p§am[iff Mathod of Serv!ce:
D Dav%ds_od County Sheri!f
V .
5 l:] Ou£ of County Sheriff
Hartford Life and Acc§cierzt insurance Company m Se¢:relarv cf Sia\e

 

|:[ caused Maiz

 

[:1 Persona$ Service

l Commissioneroflnsurance <B l

Defendant
T¢_) ghe`above named E)efendant: b1 C

¥ou are summoned to appear and defend a cile ac'tion filed_aga¥nst.you in the Circuit Court,1 Pui')lic Square, Room 302,
P. 0 Box 196303 Nashvi¥|e, TN 37219-6303, and your defense must be made within thirty (30} days from the date this
summons is served upon you You are further directed to f‘z_le your defe_nse with the C|ark of fha Coud and send a copy to
the Plaintiff's attorney at the address listed below `

 

 

 

ln case of your failure to defend this action by the above date. judgment by default wiil be rendered agam__st yo_u for thé
relief demanded in the comp¥aint

` _ _ ` __ RIC_H_ARD R. R_OOKER: `
ISSUEUZ Mét_éola_ l _ u; ' b __ _ ' _Clrcthourl C!erk _"`*
' ' ` ' ' ' ' ' " aiid§f'>“§`l CUUI`\¥y,'T`en'né's'sé'e" ' ` " " '

 

   

 

 

 

 

 

 

__£>I`_F_QB_N.E.Y E.Q.F§,ELA¥NT¥F§E. .. ~Pete¢;§f'..Skeie..~ %_M . L._._--'WW.~,.....,,W... m-,..f.‘-.;_.__.-. m . .
°r 315 meadenck arreet, Suite 1220
' . AUUI`€SS
P§~AFNT'FF'S ADDRESS ‘Nas?wiile, TN 37238, Te|ephcne: 615-3?3-9111
TO THE. SHERiFF:

Flease exacu:e this summons and ma§<e your return hereon as provided by iaw.

RECHARD R. ROOKER

, ff€‘,£.|l OUfl 6

Received this summons for service this day of . 20

 

SHERIFF

.T<> request _an AUA accommodalion. pfease contact Dart Gore at ¢615) 833-3309.

 

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